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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

YORAM AVNERI,                                    §
    Plaintiff                                    §
                                                 §
V.                                               §         CIVIL ACTION NO. 4:17-cv-588
                                                                            _______
                                                 §
HARTFORD FIRE INSURANCE                          §
COMPANY,                                         §
    Defendant                                    §

          DEFENDANT HARTFORD FIRE INSURANCE COMPANY’S
                      NOTICE OF REMOVAL

       Hartford Fire Insurance Company files this Notice of Removal of the lawsuit

styled Cause No. CV17-0772; Yoram Avneri v. Hartford Fire Insurance Company; In the

43rd Judicial District Court of Parker County, Texas, where the action is now pending, to

the United States District Court for the Northern District of Texas, Fort Worth Division

pursuant to 28 U.S.C. 1332, 1441, and 1446. In support thereof, there is complete

diversity of the parties and the amount in controversy exceeds $75,000.00.

                                        EXHIBITS

       Exhibit A:     Index of Documents Filed;

       Exhibit B:     Certified file from the Parker County District Clerk, containing the

                      Plaintiff’s Original Petition, Civil Docket Sheet, Civil Process

                      Request, Defendant Hartford Fire Insurance Company’s Original

                      Answer; and

       Exhibit C:     Certificate of Interested Persons.
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                                      INTRODUCTION

         Hartford Fire Insurance Company is an insurance company organized under

Connecticut law and maintains its principle place of business in Connecticut.

         Plaintiff Yoram Avneri (“Avneri”) is an individual residing in Denton County,

Texas.

         Hartford issued Business Insurance Policy No. 46 UUN KI9032 K2 with effective

dates from March 1, 2016, to March 1, 2017, to Yoram Avneri.

         Plaintiff Avneri alleges that on or about May 10, 2016, a severe weather event

caused substantial damage to property located at 2124 Tin Top Road, Weatherford, Texas

76086 (the “Property”). Plaintiff asserts that the property damage constitutes a covered

loss under the Policy issued by Hartford.

         Plaintiff made a claim under the Policy, and Hartford assigned an adjuster to the

claim who observed no covered damage. Hartford retained an engineer, who after

inspecting the Property, confirmed Hartford’s findings of no covered damage.

         Plaintiff disagrees, contending the damage to the Property is covered under the

Policy. In support of his contention, Plaintiff provided an estimate of damage totaling

$920,840.90 which includes an entire roof replacement as well as replacement of the air

conditioning units. Hartford disagrees that this estimate reflects the required repair for

covered damages.

         Based on the foregoing allegations, Plaintiff has asserted claims against Hartford

for negligence, breach of contract, violations of the Texas Deceptive Trade Practices Act,

violations of the Texas Insurance Code, and breach of the common law duty of good faith

and fair dealing. Plaintiff also contends that Hartford committed the alleged actionable



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conduct “knowingly” as that term is defined in the Texas Insurance Code. Accordingly,

Plaintiff claims he is entitled to actual damages, treble damages, statutory interest,

exemplary damages, attorney’s fees and costs, compensatory damages and contractual

damages. Hartford filed a state court general denial to Plaintiff’s claims and allegations

on July 12, 2017.

                                   BASIS OF REMOVAL

       Plaintiff’s state-court petition and other papers reflect that the amount in

controversy exceeds $75,000.00. Specifically, paragraph 61 of Plaintiff’s Original

Petition states “Plaintiff seeks monetary relief, including damages of any kind, penalties,

costs, expenses, pre-judgment interest, and attorney’s fees, in excess of $1,000,000.00.”

Further, the lawsuit involves a controversy which is between citizens of different states.

As noted, Hartford is organized under Connecticut law, and its principle office is in

Connecticut. Plaintiff Yoram Avneri is admittedly a resident of Denton County, Texas.

       Because this action is between citizens of different states, and because the amount

in controversy exceeds the value or sum of $75,000.00, exclusive of interest and costs,

this Court has original diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332.

Under 28 U.S.C. § 1441(a), venue of the removed action is proper in this Court as a

district or division embracing the place where the state action is pending. See 28 U.S.C.

§ 124(b)(2).

       As reflected in the supporting documents, the time within which Hartford is

required to file this Notice of Removal in order to remove this cause to the Court has not

yet expired. Additionally, Hartford will promptly file a copy of this Notice of Removal




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with the Clerk of Parker County, where the action is currently pending, and serve all

adverse parties pursuant to 28 U.S.C. § 1446(d).




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                                           CONCLUSION

       Pursuant to 28 U.S.C. § 1446, Hartford Fire Insurance Company removes the case

styled Cause No. Cause No. CV17-0772, Yoram Avneri vs. Hartford Fire Insurance

Company, from the 43rd Judicial District Court of Parker County, Texas to the United

States District Court for the Northern District of Texas, Fort Worth Division, on this 20th

day of July, 2017.

                                     Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been forwarded
to the following counsel of record in accordance with the District’s ECF service rules and
the Federal Rules of Civil Procedure on this 20th day of July, 2017, as follows:

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                                                    /s/ Christine Kirchner
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